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 A 470   Rev. 01 00 Order Scheduling a Detention I Ieanng




                                      UNITED STATES DISTRICT CoURT
                                                                  for the
                                                            District of New Jersey

                  United States ot America
                             v.                                      )      CaseNo. 12-cr-636-4(NLH)

                MUHAMMAD SHAFIQUE                                   )
                            Defendant                               )
                                        ORDER SCIIE1)ULING A DETENTION llEAR1TG



         A detention hearing in this case is scheduled as follows:


Place:                                                                      Courtroom No.:                            3C
                                Camden, New Jersey

                                                                            Date and Time:             10/22/2012 at 1:45 p.m.


         iT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         10/18/2012
                                                                                 I             Judge   signature


                                                                                      Hon. Joel Schneider, U.S.M.J.
                                                                                             Printed name and title
